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                             No. 23-20516


        In the United States Court of Appeals
                for the Fifth Circuit
                              __________
           GREAT LAKES DREDGE & DOCK COMPANY, L.L.C.,
                       Plaintiff-Appellant,
                                      v.
                CHRIS MAGNUS; ALEJANDRO MAYORKAS,
                       Defendants-Appellees,

                  AMERICAN PETROLEUM INSTITUTE;
                 AMERICAN CLEAN POWER ASSOCIATES
                  Intervenor Defendants-Appellees.
                             __________
      On Appeal from the United States District Court for the
  Southern District of Texas, Houston Division, No. 4:22-CV-02481
                             __________
AMERICAN PETROLEUM INSTITUTE’S UNOPPOSED MOTION
      TO OBTAIN AND VIEW SEALED DOCUMENTS
                     __________
BRANDON DUKE                           JONATHAN D. BRIGHTBILL
Winston & Strawn LLP                   CONSTANTINE G. PAPAVIZAS
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Houston, TX 77002                      1901 L Street N.W.
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              Counsel for American Petroleum Institute
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     Appellee American Petroleum Institute (“API”) moves to obtain and

view record documents sealed in the district court. Counsel for API has

contacted counsel for Appellant Great Lakes Dredge & Dock Company,

L.L.C., counsel for Defendants-Appellees Chris Magnus and Alejandro

Mayorkas, and counsel for Intervenor Defendant-Appellee American

Clean Power Associates. Counsel indicated that those parties do not

oppose this motion.

     The unredacted version of the administrative record was filed

under seal in the district court. API may need to cite those unredacted

portions in its response brief. Accordingly, API respectfully requests that

the Court grant this motion and give access to the record documents

sealed before the district court. API’s access to the sealed record will be

subject to the protective order issued by the district court on July 13,

2023. ROA.1651-1656.
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                                     Respectfully submitted,

December 21, 2023                    /s/ Jonathan D. Brightbill
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                   CERTIFICATE OF SERVICE

     On December 21, 2023, the foregoing brief was served on all parties

or their counsel of record through the CM/ECF system and via email.

                                      /s/ Jonathan D. Brightbill
                                      Jonathan D. Brightbill

                CERTIFICATE OF CONFERENCE

     I hereby certify that I have conferred with counsel for Appellant,

counsel for Defendants-Appellees, and counsel for Intervenor-Appellee,

who do not oppose this motion.

                                      /s/ Jonathan D. Brightbill
                                      Jonathan D. Brightbill
